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   Fill in this information to identify the case:

   Debtor            IW Health, LLC
                    __________________________________________________________________
                                           Southern
   United States Bankruptcy Court for the: ______________________             Texas
                                                                  District of __________
                                                                                              (State)
   Case number        22-60021
                     ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                     amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
        Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




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               IW Health, LLC
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  Debtor       _______________________________________________________                             Case number (if known)_____________________________________
               Name


 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                             0.00
                                                                                                                           $________________________________
     Carlee Soto-Parisi
    ____________________________________________________________
                                                                              Contingent
     c/o Koskoff Koskoff & Bieder 350 Fairfield Ave               Unliquidated
    ____________________________________________________________              Disputed
    Bridgeport, CT 06604
    ____________________________________________________________                                Litigation Claim
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:     0.00
                                                                                                                           $________________________________
     Carlos Soto                                                           Check all that apply.
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
     c/o Koskoff Koskoff & Bieder 350 Fairfield Ave
    ____________________________________________________________  Disputed
    Bridgeport, CT 06604
    ____________________________________________________________
                                                                                                Litigation Claim
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:     0.00
                                                                                                                           $________________________________
     Dona Soto                                                             Check all that apply.
    ____________________________________________________________
                                                                              Contingent
     c/o Koskoff Koskoff & Bieder 350 Fairfield Ave                           Unliquidated
    ____________________________________________________________              Disputed
    Bridgeport, CT 06604
    ____________________________________________________________
                                                                                                Litigation Claim
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:     0.00
                                                                           Check all that apply.                           $________________________________
     Erica Lafferty
    ____________________________________________________________
                                                                              Contingent
     c/o Koskoff Koskoff & Bieder 350 Fairfield Ave                           Unliquidated
    ____________________________________________________________              Disputed
    Bridgeport, CT 06604
    ____________________________________________________________
                                                                                                Litigation Claim
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:     0.00
                                                                           Check all that apply.                           $________________________________
     Francine Wheeler
    ____________________________________________________________
                                                                              Contingent
     c/o Koskoff Koskoff & Bieder 350 Fairfield Ave
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    Bridgeport, CT 06604
    ____________________________________________________________
                                                                                                Litigation Claim
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:     0.00
                                                                 Check all that apply.                                     $________________________________
     Ian Hockley
    ____________________________________________________________
                                                                              Contingent
     c/o Koskoff Koskoff & Bieder 350 Fairfield Ave
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    Bridgeport, CT 06604
    ____________________________________________________________
                                                                                                Litigation Claim
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes



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  Debtor       _______________________________________________________
                                                              Case number (if known)_____________________________________
               Name



Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                      Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


   Nonpriority creditor’s name and mailing address
3.__                                                               As of the petition filing date, the claim is:
                                                                                                                    0.00
                                                                   Check all that apply.                           $________________________________
      Jacqueline Barden
     ___________________________________________________________      Contingent
                                                                      Unliquidated
      c/o Koskoff   Koskoff   &  Bieder   350   Fairfield Ave         Disputed
     ___________________________________________________________      Liquidated and neither contingent nor
      Bridgeport, CT 06604
     ___________________________________________________________       disputed
                                                                                           Litigation Claim
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number        ___ ___ ___ ___           Yes


   Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:    0.00
                                                                                                                   $________________________________
      Jennifer Hensel                                              Check all that apply.
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
      c/o Koskoff Koskoff & Bieder 350 Fairfield Ave
     ___________________________________________________________      Disputed
      Bridgeport, CT 06604
     ___________________________________________________________                           Litigation Claim
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number        ___ ___ ___ ___           Yes


   Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:    0.00
                                                                                                                   $________________________________
      Jeremy Richman                                               Check all that apply.
     ___________________________________________________________
                                                                      Contingent
      c/o Koskoff Koskoff & Bieder 350 Fairfield Ave 
     ___________________________________________________________ 
                                                                       Unliquidated
                                                                       Disputed
      Bridgeport, CT 06604
     ___________________________________________________________                        Litigation Claim
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number        ___ ___ ___ ___           Yes


  Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:    0.00
                                                                                                                   $________________________________
      Jillian Soto
     ___________________________________________________________
                                                                   Check all that apply.
                                                                      Contingent
      c/o Koskoff Koskoff & Bieder 350 Fairfield Ave 
     ___________________________________________________________ 
                                                                       Unliquidated
                                                                       Disputed
      Bridgeport, CT 06604
     ___________________________________________________________
                                                                                           Litigation Claim
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number        ___ ___ ___ ___           Yes



  Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:    0.00
                                                                                                                   $________________________________
      Mark Barden
     ___________________________________________________________
                                                                   Check all that apply.
                                                                      Contingent
      c/o Koskoff Koskoff & Bieder                                    Unliquidated
     ___________________________________________________________      Disputed
      Bridgeport, CT 06604
     ___________________________________________________________
                                                                                           Litigation Claim
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number        ___ ___ ___ ___           Yes




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  Debtor       _______________________________________________________
                                                              Case number (if known)_____________________________________
               Name



 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                      Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
   Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                                                                    0.00
                                                                   Check all that apply.                           $________________________________
      Nicole Hockley
     ___________________________________________________________   ■
                                                                        Contingent
                                                                   ■
                                                                        Unliquidated
      c/o Koskoff Koskoff & Bieder                                 ■
                                                                        Disputed
     ___________________________________________________________       Liquidated and neither contingent nor
      Bridgeport, CT 06604
     ___________________________________________________________        disputed
                                                                                           Litigation Claim
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                       No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:    0.00
                                                                                                                   $________________________________
      Robert Parker                                                Check all that apply.
     ___________________________________________________________
                                                                   ■
                                                                        Contingent
                                                                   ■
                                                                        Unliquidated
      c/o Koskoff Koskoff & Bieder
     ___________________________________________________________   ■
                                                                        Disputed
     Bridgeport, CT 06604
     ___________________________________________________________                           Litigation Claim
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                       No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


   Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:    0.00
                                                                                                                   $________________________________
      William Aldenberg                                            Check all that apply.
     ___________________________________________________________
                                                                   ■
                                                                        Contingent
                                                                   ■
                                                                        Unliquidated
      c/o Koskoff Koskoff & Bieder
     ___________________________________________________________   ■
                                                                        Disputed
      Bridgeport, CT 06604
     ___________________________________________________________                        Litigation Claim
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                       No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


   Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:    0.00
                                                                                                                   $________________________________
      William Sherlach
     ___________________________________________________________
                                                                   Check all that apply.
                                                                   ■
                                                                        Contingent
      c/o Koskoff Koskoff & Bieder                                 ■
                                                                        Unliquidated
     ___________________________________________________________   ■
                                                                        Disputed
      Bridgeport, CT 06604
     ___________________________________________________________
                                                                                           Litigation Claim
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                       No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



   Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     ___________________________________________________________       Disputed
     ___________________________________________________________
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                       No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




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  Debtor             _______________________________________________________                                          Case number (if known)_____________________________________
                     Name



Part 3:              List Others to Be Notified About Unsecured Claims


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



            Name and mailing address                                                                           On which line in Part 1 or Part 2 is the      Last 4 digits of
                                                                                                               related creditor (if any) listed?             account number, if
                                                                                                                                                             any

4.1.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.2.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.3.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.4.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

41.                                                                                                            Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.5.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.6.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.7.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.8.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.9.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.10.                                                                                                          Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.11.
                                                                                                               Line _____
         ___________________________________________________________________________________________________
                                                                                                                  Not listed. Explain ________________      ___ ___ ___ ___
         _________________________________________________________________
                                                                                                                   _________________________________
         _________________________________________________________________




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                IW Health, LLC                                                Page 6 of 6
 Debtor        _______________________________________________________             Case number (if known)_____________________________________
               Name



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                           Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                             0.00
                                                                                                           $_____________________________




5b. Total claims from Part 2                                                                  5b.    +
                                                                                                             0.00
                                                                                                           $_____________________________




5c. Total of Parts 1 and 2
                                                                                              5c.
                                                                                                             0.00
                                                                                                           $_____________________________
   Lines 5a + 5b = 5c.




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